        Case 1:21-cv-00165-DLC Document 19 Filed 02/10/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
OUR WICKED LADY LLC (d/b/a “Our Wicked :                 21cv0165(DLC)
Lady”), et al.,                        :
                                       :                      ORDER
                         Plaintiffs,   :
                -v-                    :
                                       :
ANDREW CUOMO, in his official capacity :
as Governor of the State of New York; :
STATE of NEW YORK; BILL de BLASIO, in :
his official capacity as Mayor of New :
York City; and THE CITY of NEW YORK,   :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     On February 5, 2021, the plaintiffs filed a motion to

preliminarily enjoin the defendants from enforcing restrictions

on indoor dining within New York City.         Pursuant to the

teleconference held on February 9, 2021, the following schedule

shall govern the further conduct of pretrial proceedings in this

case:

  1. The parties shall submit a joint stipulation of undisputed

     facts underlying the plaintiffs’ motion for a preliminary

     injunction by February 12, 2021.

  2. The defendants shall submit any opposition to the

     plaintiffs’ motion for a preliminary injunction by February

     23, 2021.
         Case 1:21-cv-00165-DLC Document 19 Filed 02/10/21 Page 2 of 2




  3. The plaintiffs shall submit any reply by February 26, 2021.

     The plaintiffs shall also inform the Court by February 26

     if they wish to cross examine any affiant whose testimony

     is presented with the defendants’ opposition.


SO ORDERED.

Dated:       New York, New York
             February 10, 2021




                                      2
